                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION
                                  NO. 7:15-CV-148-BO

LAKSHMI FERYETTE RICHARDSON,                          )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )               ORDER
                                                      )
SMITHFIELD PACKING FARMLAND                           )
TARHEEL,                                              )
                                                      )
       Defendant.                                     )

       This matter is before the Court on plaintiff’s pro se application to proceed in forma

pauperis and for frivolity review. [DE 1]. For the reasons stated below, the motion to proceed in

forma pauperis is allowed and, pursuant to 28 U.S.C. § 1915(e)(2), the case is dismissed.

                                           DISCUSSION

       Based on the information in the motion to proceed in forma pauperis, the Court finds that

plaintiff has adequately demonstrated her inability to prepay the required court costs. Her motion

to proceed in forma pauperis is therefore allowed.

In conducting a frivolity review pursuant to 28 U.S.C. § 1915(e)(2)(B), the Court must determine

whether the action is frivolous or malicious, fails to state a claim upon which relief can be

granted, or seeks monetary relief from an immune defendant, and is thereby subject to dismissal.

28 U.S.C. § 1915(e)(2)(B); see Cochran v. Morris, 73 F.3d 1310, 1315–16 (4th Cir. 1996)

(discussing sua sponte dismissal under predecessor statute, 28 U.S.C. § 1915(d)). A complaint is

frivolous if it “lacks an arguable basis in either law or fact.” See Nietzke v. Williams, 490 U.S.

319, 325 (1989); McLean v. United States, 566 F.3d 391, 399 (4th Cir. 2009) (“Examples of

frivolous claims include those whose factual allegations are ‘so nutty,’




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'delusional,' or 'wholly fanciful' as to be simply 'unbelievable.'") (citations omitted). The Court

is charged with liberally construing a pleading filed by a pro se litigant to allow for the

development of a potentially meritorious claim. See Haines v. Kerner, 404 U.S. 519, 520 (1972);

Estelle v. Gamble, 429 U.S. 97, 106 (1976); Noble v. Barnett, 24 F.3d 582, 587 n.6 (4th Cir.

1994). A plaintiff proceeding in for ma pauper is, however, must "meet certain minimum

standards ofrationality and specificity." Adams v. Rice, 40 F.3d 72, 74 (4th Cir. 1994).

       Plaintiffs complaint alleges harassment by supervisors at work to the point that plaintiff

hit and cursed at her supervisor. The Court cannot find a basis for jurisdiction over plaintiffs

complaint. No loss amount or diversity of citizenship is alleged, nor does plaintiff allege that

either her constitutional rights or a federal statute was violated. Plaintiffs complaint states that

she was humiliated and embarrassed at work by her supervisor, who allegedly has made

derogatory comments to other employees based on their gender. Plaintiff does not allege or

imply, however, that any of the harassment she faced is due to her status in a protected class.

Accordingly, the Court finds that plaintiffs complaint fails to state a claim upon which relief can

be granted and must be dismissed.

                                           CONCLUSION

       For the foregoing reasons, plaintiffs application to proceed in forma pauper is is

ALLOWED, and plaintiff's complaint is DISMISSED for lack of subject matter jurisdiction. The

Clerk of Court is directed to close the file.


SO ORDERED, this      H      day of September, 2015.




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                                                UNITED STATES DISTRIC


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